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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GIANNI VERSACE, S.P.A.,
                                                  Case No. 19-cv-03991
                       Plaintiff,
                                                  Judge Matthew F. Kennelly
       v.
                                                  Magistrate Judge Susan E. Cox
ZHAOFENG, et al.,

                       Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Gianni

Versace, S.p.A. (“Versace”) hereby dismisses this action with prejudice as to the following

Defendants:

                Defendant Name                                  Line No.
              Glamaker Official Store                              218
                Secret Garden^_^                                   267
                Trendy Club Store                                  318

Dated this 13th day of September 2019.   Respectfully submitted,

                                         /s/ RiKaleigh C. Johnson
                                         Paul G. Juettner
                                         Justin R. Gaudio
                                         RiKaleigh C. Johnson
                                         Abby M. Neu
                                         Greer, Burns & Crain, Ltd.
                                         300 South Wacker Drive, Suite 2500
                                         Chicago, Illinois 60606
                                         312.360.0080 / 312.360.9315 (facsimile)
                                         pjuettner@gbc.law
                                         jgaudio@gbc.law
                                         rjohnson@gbc.law
                                         aneu@gbc.law

                                         Counsel for Plaintiff Gianni Versace, S.p.A.
